Case 2:24-cv-00572-JRG   Document 53   Filed 12/30/24   Page 1 of 37 PageID #: 1249




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION
                                        §
  ADVANCED CODING TECHNOLOGIES          §   Case No. 2:24-cv-00572-JRG
  LLC,                                  §   (LEAD CASE)
                                        §
                          Plaintiff,    §   JURY TRIAL DEMANDED
                                        §
           v.                           §
                                        §
  APPLE INC.,                           §
                                        §
                          Defendant.    §
                                        §
                                        §
  ADVANCED CODING TECHNOLOGIES          §   Case No. 2:24-cv-00687-JRG
  LLC,                                  §   (MEMBER CASE)
                                        §
                          Plaintiff,    §   JURY TRIAL DEMANDED
                                        §
           v.                           §
                                        §
  APPLE INC.,                           §
                                        §
                          Defendant.    §
                                        §




      PLAINTIFF ADVANCED CODING TECHNOLOGIES LLC’S OPPOSITION
             TO DEFENDANT APPLE INC.’S MOTION TO DISMISS
              FOR IMPROPER VENUE OR ALTERNATIVELY TO
      TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA (DKT. 37)
Case 2:24-cv-00572-JRG                 Document 53               Filed 12/30/24             Page 2 of 37 PageID #: 1250




                                               TABLE OF CONTENTS
                                                                                                                            Page(s)

 I.     INTRODUCTION........................................................................................................ 1

 II.    FACTS ........................................................................................................................ 2

        A.        ACT’s Allegations ............................................................................................ 2

        B.        Apple’s Regular and Established Places of Business........................................... 4

                  1.         Apple’s Merchandising Guidelines and Signage...................................... 5

                  2.         Apple Pays for the Apple Shops ............................................................. 7

                  3.         Apple Establishes the Locations of the Apple Shops and Controls
                             Details of Their Operations .................................................................... 7

                  4.         Apple Employees Regularly Work in the Apple Shops............................ 8

                  5.         Apple’s Agents Operate the Apple Shops ............................................... 9

        C.        Locations of Witnesses and Evidence ................................................................ 9

 III.   LEGAL STANDARD ................................................................................................ 11

        A.        Venue............................................................................................................. 11

        B.        Transfer.......................................................................................................... 12

 IV.    ARGUMENT............................................................................................................. 13

        A.        The Complaint Should Not Be Dismissed for Improper Venue Because
                  the Apple Shops are Apple’s Regular and Established Places of Business ......... 13

                  1.         Apple Holds Out the Apple Shops as Its Own Places of Business .......... 14

                  2.         Apple Establishes the Apple Shops and Controls Their Operation ......... 16

                  3.         Apple’s Employees Regularly Visit the Apple Shops and Apple’s
                             Agents Operate the Apple Shops .......................................................... 18

                  4.         To Customers, Apple Shops Are No Different From Apple Stores......... 21

        B.        Transfer is Inappropriate Because Apple Has Not Met Its Burden to
                  Show That California Is Clearly More Convenient ........................................... 22

                  1.         The Private Interest Factors Do Not Favor Transfer .............................. 22



                                                                  i
Case 2:24-cv-00572-JRG              Document 53              Filed 12/30/24             Page 3 of 37 PageID #: 1251




                          a.        The Relative Ease of Access to Sources of Proof Weighs
                                    Against Transfer....................................................................... 22

                          b.        The Availability of Compulsory Process Weighs Against
                                    Transfer ................................................................................... 24

                          c.        The Cost of Attendance for Willing Witnesses Weighs
                                    Against Transfer....................................................................... 26

                          d.        The Practical Problems Factor Weighs Against Transfer............ 28

                2.        The Public Interest Factors Do Not Favor Transfer ............................... 29

                          a.        The Local Interests Weigh Against Transfer .............................. 29

                          b.        Court Congestion Weighs Against Transfer............................... 29

       C.       ACT Requests Venue Discovery...................................................................... 30

 V.    CONCLUSION.......................................................................................................... 30




                                                             ii
Case 2:24-cv-00572-JRG                Document 53             Filed 12/30/24           Page 4 of 37 PageID #: 1252




                                           TABLE OF AUTHORITIES

                                                                                                                    Page(s)

 Cases

 4WEB, Inc. v. NuVasive, Inc.,
   No. 23-cv-00192-JRG, 2024 WL 1932416 (E.D. Tex. May 2, 2024)............................ 19, 20

 AptusTech LLC v. Trimfoot Co., LLC,
    No. 19-cv-00133-ALM, 2020 WL 1190070 (E.D. Tex. Mar. 12, 2020).............................. 15

 Blitzsafe Texas, LLC v. Bayerische Motoren Werke AG,
     No. 2:17-cv-00418-JRG, 2018 WL 4849345 (E.D. Tex. Sept. 6, 2018),
     vacated sub nom, 2019 WL 3494359 (Aug. 1, 2019)............................................. 14, 15, 16

 Cincinnati Ins. Co. v. RBP Chem. Tech., Inc.,
    No. 1:07-cv-699, 2008 WL 686156 (E.D. Tex. Mar. 6, 2008)............................................ 11

 In re Clarke,
     94 F.4th 502 (5th Cir. 2024)....................................................................................... 12, 29

 Core Wireless Licensing, S.A.R.L. v. Apple Inc.,
    No. 6:12-CV-100-LED-JDL, 2013 WL 682849 (E.D. Tex. Feb. 22, 2013)................... 12, 23

 In re Cray Inc.,
     871 F.3d 1355 (Fed. Cir. 2017) ............................................................................ 11, 12, 13

 Defense Distrib. v. Bruck,
    30 F.4th 414 (5th Cir. 2022)........................................................................... 12, 22, 23, 25

 In re EMC Corp.,
     501 F. App’x 973 (Fed. Cir. 2013).................................................................................... 28

 In re Google LLC,
     949 F. 3d 1338 (Fed. Cir. 2020)...................................................................... 12, 18, 19, 21

 Japan Display Inc. v. Tianma Microelectronics Co.,
    No. 2:20-CV-00283-JRG, 2021 WL 3772425 (E.D. Tex. Aug. 25, 2021)........................... 13

 Jawbone Innovations, LLC v. Samsung Elecs. Co.,
    No. 2:21-cv-00186-JRG-RSP, 2022 WL 4004195 (E.D. Tex. Aug. 31, 2022) .................... 23

 In re Kia Corp.,
     No. 2024-0138, 2024 WL 4355616 (Fed. Cir. Oct. 1, 2024) .............................................. 28

 Longhorn HD LLC v. Juniper Networks, Inc.,
    No. 2:21-CV-00099-JRG, 2021 WL 4243382 (E.D. Tex. Sept. 16, 2021) .......................... 30


                                                              iii
Case 2:24-cv-00572-JRG                  Document 53              Filed 12/30/24            Page 5 of 37 PageID #: 1253




 Meyer v. Holley,
   537 U.S. 280 (2003)................................................................................................... 20, 21

 In re Nintendo Co.,
     589 F.3d 1194 (Fed. Cir. 2009) ........................................................................................ 13

 In re Planned Parenthood Fed’n of Am., Inc.,
     52 F.4th 625 (5th Cir. 2022)................................................................................. 23, 24, 30

 Rembrandt Wireless Techs, LP v. Apple Inc.,
    No. 2:19-CV-00025-JRG, 2019 WL 6344470 (E.D. Tec. Nov. 27, 2019)........................... 29

 Slyde Analytics LLC v. Apple Inc.,
     Case No. 2:24-cv-00331-RWS-RSP, Dkt. 21 (E.D. Tex. July 15, 2024)............................... 4

 Slyde Analytics, LLC v. Zepp Health Corp.,
     No. 2:23-cv-00172-RWS-RSP, 2024 WL 3927228 (E.D. Tex. Aug. 22, 2024)................... 26

 Tinnus Enters., LLC v. Telebrands Corp.,
    No. 6:17-cv-00170-RWS, 2018 WL 4524119 (E.D. Tex. May 1, 2018) ............................. 17

 In re Volkswagen AG,
     371 F.3d 201 (5th Cir. 2004) ...................................................................................... 12, 13

 In re Volkswagen of Am., Inc.,
     545 F.3d 304 (5th Cir. 2008) ................................................................................ 12, 22, 23

 In re Zepp Health Corp.,
     No. 2025-100, 2024 WL 4799482 (Fed. Cir. Nov. 15, 2024) ............................................. 23

 In re ZTE (USA) Inc.,
     890 F.3d 1008 (Fed. Cir. 2018) .................................................................................. 11, 17

 Statutes

 28 U.S.C. § 1400(b)......................................................................................................... 11, 13

 28 U.S.C. § 1404(a)........................................................................................................... 2, 12

 Other Authorities

 Restatement (Third) of Agency § 1.01 .................................................................................... 20




                                                                 iv
Case 2:24-cv-00572-JRG   Document 53   Filed 12/30/24   Page 6 of 37 PageID #: 1254
Case 2:24-cv-00572-JRG   Document 53   Filed 12/30/24   Page 7 of 37 PageID #: 1255
Case 2:24-cv-00572-JRG   Document 53   Filed 12/30/24   Page 8 of 37 PageID #: 1256
Case 2:24-cv-00572-JRG           Document 53       Filed 12/30/24     Page 9 of 37 PageID #: 1257




            ACT also alleges that Best Buy performs Authorized Service on behalf of Apple, and that

 Best Buy advertises that it is an “Apple Authorized Service Provider[]” whose agents are “Apple-

 trained and use genuine Apple parts on every repair.” Id. ¶ 6:




 Apple advertises on its website these Best Buy locations as Apple Authorized Service Providers

 as certified “so you get the same professionalism and quality of repair you’d expect from Apple.”

 Id. ¶ 9.

            ACT further alleges in its Complaint that “Defendant employs individuals in this Judicial

 District involved in the technology, sales, and marketing of its products.” Id. ¶ 7. In another

 litigation pending in this District in which Apple has filed a similar motion, Apple admitted that

 “[w]hile at Best Buy, Apple’s employees provide information about Apple’s products to

 prospective customers” and that “[m]any are staffed with Apple Solutions Consultants – trained

 Apple employees who can help you find the best solution.” Slyde Analytics LLC v. Apple Inc.,

 Case No. 2:24-cv-00331-RWS-RSP, Dkt. 21 at 11 (E.D. Tex. July 15, 2024); Id. ¶ 10.

            B.     Apple’s Regular and Established Places of Business

            In support of its Motion, Apple provided three declarations from employees explaining the

 relationship between Apple and Best Buy, as well as details about the business operations of the




                                                    4
Case 2:24-cv-00572-JRG             Document 53 Filed 12/30/24         Page 10 of 37 PageID #:
                                             1258



Apple Shops. See Dkts. 37-1–37-3 (Declarations of S. Dockendorf, J. Leslie, and S. Calhoun).

Apple also provided the agreements delineating this business relationship. Exs. F–J. The relevant

relationship between Apple and Best Buy began in             when they entered into a

             Ex. F. In        , they entered into an                                        to the

                    which defined

                     Exs. G, H.

                         (Ex. I)           (Ex. J).

       The record evidence provided by Apple shows conclusively that ACT’s allegations are

correct, and that Apple (1) holds the Apple Shops out to customers as places of business of Apple;

and (2) exercises sufficient control over the Apple Shops for the Best Buy employees to be Apple’s

Agents.

               1.     Apple’s Merchandising Guidelines and Signage

       Apple and Best Buy go to great lengths to make the Apple Shops look and feel like an

Apple retail store. Apple provides

                                                                                             . Ex.

H at




                                                5
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 11 of 37 PageID #:
                                   1259
Case 2:24-cv-00572-JRG         Document 53 Filed 12/30/24               Page 12 of 37 PageID #:
                                         1260



                                                                                       Apple also

provides                                                                        Best Buy must use

Apple’s



                 2.   Apple           the Apple Shops



                                                             Ex. J at




                 3.   Apple Establishes the Locations of the Apple Shops and
                      Controls Details of Their Operations

      Before establishing an Apple Shop, Best Buy is required to provide



                                                  Ex. G at

           The            allows Apple to confirm that the

                                          Id. Once operational, Best Buy must operate the Apple

Shop in accordance with

                                                                          Id.

                              The Apple Shop must be



      If Best Buy wants to change the location of the Apple Shop in one of its stores,




                                              7
Case 2:24-cv-00572-JRG              Document 53 Filed 12/30/24           Page 13 of 37 PageID #:
                                              1261



                                                                               Id.

                           Best Buy agreed

                Ex. J

         Apple requires that each Apple Shop location meets a stringent set of guidelines. Each Best

Buy store containing an Apple Shop must                                   which is solely determined

by                            Id.                                        Apple even has a say in the

                                                              ; the Best Buy must contain products

with a                                                                    Id. It also must provide a



Id. Apple has the right to

     Id.

                4.        Apple Employees Regularly Work in the Apple Shops

         Apple Employees                         to support the program



                                                              Ex. J at

                              Best Buy is required to allow Apple Employees to work in the Apple

Shop

                                                               Apple admits that Apple Employees

regularly work in the Apple Shops in this District. Mot. at 16 (“[T]en Apple employees work

within Best Buy’s stores in this District” (citing Dkt. 37-3, Jemmings Decl. ¶ 5)); Ex. J at

                                                           These   employees

                     interact with customers,                                                Id.




                                                  8
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 14 of 37 PageID #:
                                   1262
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 15 of 37 PageID #:
                                   1263
Case 2:24-cv-00572-JRG          Document 53 Filed 12/30/24             Page 16 of 37 PageID #:
                                          1264



       ACT has also identified several other entities located in this District that upon information

and belief have entered into patent licenses with Apple. These include AGIS Software

Development, LLC (located in Marshall), RFCyber Corp. (located in Plano), and Jawbone

Innovations LLC (located in Marshall). Ex. 6. These entities have knowledge regarding patent

licensing with Apple, and this knowledge is relevant to damages, as well as, for example, issues

related to notice letters and potential risks of declaratory judgment actions.

       The Alliance for Open Media (“AOM”), an industry consortium responsible for creating

and maintaining the accused AV1 video codec, is located in Wakefield, Massachusetts. Id. It is

expected that AOM will have information regarding the design, development, and operation of the

AV1 video codec and will also likely be called to testify about the AV1 specification and AV1

source code libraries. At least one known prior art inventor, Zhongli He, is located in Austin, and

Apple’s own initial disclosures in this case identify potentially relevant third party witnesses in

Japan, Ohio, Washington D.C., Virginia, New York City, London, Chicago, San Diego, and

Shanghai in addition to one potentially relevant third party in Palo Alto. Exs. 6-7.

III.   LEGAL STANDARD

       A.      Venue

       Venue lies only “in the judicial district where the defendant resides, or where the defendant

has committed acts of infringement and has a regular and established place of business.” 28 U.S.C.

§ 1400(b). “Whether venue is proper under § 1400(b) is an issue unique to patent law and is

governed by Federal Circuit law.” In re ZTE (USA) Inc., 890 F.3d 1008, 1012 (Fed. Cir. 2018)

(citing In re Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017)). When challenged, the burden of

establishing that venue is proper under 28 U.S.C. §1400(b) belongs to the Plaintiff. Id. at 1013.

“Plaintiff may carry this burden by establishing facts that, if taken to be true, establish proper

venue.” Cincinnati Ins. Co. v. RBP Chem. Tech., Inc., No. 1:07-cv-699, 2008 WL 686156, at *5


                                                11
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24              Page 17 of 37 PageID #:
                                           1265



(E.D. Tex. Mar. 6, 2008). “[Section] 1400(b) requires that ‘a defendant has’ a ‘place of business’

that is ‘regular’ and established.’ All of these requirements must be present.” In re Cray Inc., 871

F.3d at 1362. “[T]he first requirement is that there must be a physical place in the district”; “[t]he

second requirement . . . is that the place must be a regular and established place of business”; and

“the third requirement . . . is that the regular and established place of business must be the place

of the defendant.” Id. at 1362-63 (internal quotations omitted). “[A] ‘regular and established place

of business’ requires the regular, physical presence of an employee or other agent of the defendant

conducting the defendant’s business at the alleged ‘place of business.’” In re Google LLC, 949

F. 3d 1338, 1345 (Fed. Cir. 2020).

       B.      Transfer

       “When a defendant is haled into court, some inconvenience is expected and acceptable.”

Defense Distrib. v. Bruck, 30 F.4th 414, 433 (5th Cir. 2022). Thus, as the Fifth Circuit has recently

reiterated, a motion to transfer venue pursuant to 28 U.S.C. § 1404(a) should be denied unless the

movant “adduce[s] evidence and arguments that clearly establish good cause for transfer based on

convenience and justice.” Id. The party seeking transfer must demonstrate good cause for the

transfer, i.e., that the transferee venue is clearly more convenient for both the parties and the

witnesses. Id.; see also In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008)

(“Volkswagen II”). This “‘places a significant burden on [Defendants] to show good cause for

transfer:’ a burden that this Court does not take lightly.” Core Wireless Licensing, S.A.R.L. v. Apple

Inc., No. 6:12-CV-100-LED-JDL, 2013 WL 682849, at *2 (E.D. Tex. Feb. 22, 2013). The standard

is not met if it is merely shown that the transferee venue “is more likely than not to be more

convenient.” In re Clarke, 94 F.4th 502, 508 (5th Cir. 2024).

       If the suit could have been brought in the proposed district, the Court should then consider

the Fifth Circuit’s private and public interest factors. In re Volkswagen AG, 371 F.3d 201, 203 (5th


                                                 12
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24              Page 18 of 37 PageID #:
                                           1266



Cir. 2004) (“Volkswagen I”). The private interest factors are: (1) relative ease of access to sources

of proof; (2) availability of compulsory process to secure the attendance of witnesses; (3) cost of

attendance for willing witnesses; and (4) all other practical problems that make trial of a case easy,

expeditious, and inexpensive. Id.; In re Nintendo Co., 589 F.3d 1194, 1198 (Fed. Cir. 2009). The

public interest factors are: (1) administrative difficulties flowing from court congestion; (2) local

interest in having localized interests decided at home; (3) familiarity of the forum with the law that

will govern the case; and (4) avoidance of unnecessary problems of conflict of laws or in the

application of foreign law. Volkswagen I, 371 F.3d at 203. “[R]espect for the plaintiff’s choice of

forum is encompassed in the movant’s elevated burden to ‘clearly demonstrate’ that the proposed

transferee forum is ‘clearly more convenient’ than the forum in which the case was filed.” Japan

Display Inc. v. Tianma Microelectronics Co., No. 2:20-CV-00283-JRG, 2021 WL 3772425, at *2

(E.D. Tex. Aug. 25, 2021) (citing Volkswagen I, 371 F.3d at 203).

IV.    ARGUMENT

       A.      The Complaint Should Not Be Dismissed for Improper Venue
               Because the Apple Shops are Apple’s Regular and Established
               Places of Business

       Apple does not dispute that the Apple Shops in this District are places of business, or that

they are “regular and established.” Apple disputes whether the Apple Shops are places of business

“of the defendant,” as required by 28 U.S.C. § 1400(b). In re Cray, 871 F.3d at 1360. Because

Apple establishes and ratifies the Apple Shops in this District, engages in its business in those

locations including by sending its own employees to those locations to train others on how to sell

and use Apple products, lists these Apple Shops as its own places of business on its own website,

and provides all of the signage and furniture for the Apple Shops so that consumers recognize them

as Apple-approved locations, the Apple Shops are places of business of Apple.




                                                 13
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24              Page 19 of 37 PageID #:
                                           1267



       A defendant is not required to own or lease the regular and established place of business in

order for that place to be considered “of the defendant.” The Federal Circuit has enumerated

several “relevant considerations” that can be considered by Courts, including whether the

defendant exercises attributes of possession or control over the place, whether there exist

marketing or advertisements showing the defendant holding the place out to consumers as its own

place of business, and “a defendant’s representations that it has a place of business in the district.”

Id. at 1363–67. These factors are not exhaustive, bur merely illustrative of the types of inquiries

courts should undertake while attempting to ascertain whether a place of business is “of the

defendant.” Blitzsafe Texas, LLC v. Bayerische Motoren Werke AG, No. 2:17-cv-00418-JRG, 2018

WL 4849345, at *6 (E.D. Tex. Sept. 6, 2018), vacated sub nom, 2019 WL 3494359, at *1 (Aug.

1, 2019). For at least three distinct reasons, Apple Shops constitute the places of business “of the

defendant.”

               1.      Apple Holds Out the Apple Shops as Its Own Places of
                       Business

       As pled in ACT’s Complaints, Apple advertises the locations of the Apple Shops on its

website, including the Apple Shops in Plano. Dkt. 1 ¶ 3. Apple also specifically designs the Apple

Shops to look like Apple Stores, with only approved Apple signage and furniture being permitted

to be displayed. Apple relies on these facts collectively so that consumers would readily consider

Apple Shops as places of business “of” Apple.

       Apple represents that it has a place of business in this District. A search for Apple Stores

and Apple Authorized Resellers on the Apple website lists the Plano Best Buy as specifically

containing an “Apple Shop”:




                                                  14
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 20 of 37 PageID #:
                                   1268
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 21 of 37 PageID #:
                                   1269
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 22 of 37 PageID #:
                                   1270
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 23 of 37 PageID #:
                                   1271
Case 2:24-cv-00572-JRG            Document 53 Filed 12/30/24               Page 24 of 37 PageID #:
                                            1272



        Apple’s Employees’ presence at the Apple Shops is “regular” under the guidelines of In re

Google. Apple admits that its “Specialists” are required to work in the Apple Shops from Friday

to Sunday. Dkt. 37-3, Jemmings Decl., ¶ 6. Apple’s declarations are silent regarding the schedules

of the other types of employees. But even assuming that no Apple Employees are present within

the Apple Shops from Monday to Thursday, having the largest group of employees required to be

within the Apple Shops during the busiest time of the week for in-person shopping is a “regular”

presence there.

        The regularly present Apple Employees also conduct Apple’s business at the Apple Shops.

Although they do not conduct transactions, Apple’s Employees conduct Apple’s business by

encouraging and facilitating sales of Apple products. Apple admits that its employees in Apple

Shops “are responsible for engaging with Best Buy’s employees and customers, educating them

about Apple’s products, advocating for Apple’s brand, and helping customers choose an Apple

products that best suits their needs.” Id. ¶ 7. Under even the narrowest interpretation, educating

people about Apple’s products and helping customers choose an Apple product are methods by

which these employees conduct Apple’s business in the Apple Shops. Apple cites to 4WEB, Inc.

v. NuVasive, Inc., No. 23-cv-00192-JRG, 2024 WL 1932416, at *1-*2 (E.D. Tex. May 2, 2024),

for the proposition that employees of the defendant working at a location conducting sales,

marketing, logistics, and other activities do not transform that location into a place of business of

the defendant. Mot. at 15–16. In that case, the plaintiff failed to make the requisite showing

because, inter alia, the defendant “has not represented that it has a place of business in this District”

and the plaintiff “fail[ed] to point to any ‘place’ . . . over which NuVasive exercises possession

and control.” 4WEB, 2024 WL 1932416 at *3–*4. Here, Apple does what NuVasive did not. Apple

holds out the Apple Shops as its own places of business by openly displaying Apple trademarks




                                                  19
Case 2:24-cv-00572-JRG            Document 53 Filed 12/30/24              Page 25 of 37 PageID #:
                                            1273



on Apple signage and allowing prospective customers to use the Apple website to locate these

Apple Shops. And Apple exercises exacting control over the Apple Shops by requiring adherence

to the Merchandising Guidelines discussed supra. The 4WEB case merely involved employees of

the defendant traveling to surgical centers and hospitals in the district to “train physicians and staff

how to use the Accused Products.” Id. at *2. Apple’s Employees’ regular presence at the Apple-

designed Apple shops are much different than traveling medical device salespeople traveling to

hospitals. NuVasive never held out to customers that the surgical centers or hospitals were their

places of business, as Apple does here.

        In addition to the Apple Employees that regularly visit the Apple Shops and conduct

Apple’s business there during the busiest shopping times of the week, Best Buy employees act as

Apple’s agents within the Apple Shops. An agency relationship is a “fiduciary relationship that

arises when one person (a ‘principal’) manifests assent to another person (an ‘agent’) that the agent

shall act on the principal's behalf and subject to the principal's control, and the agent manifests

assent or otherwise consents so to act.” Restatement (Third) of Agency § 1.01. The essential

elements of agency are (1) the principal's “right to direct or control” the agent’s actions, (2) “the

manifestation of consent by [the principal] to [the agent] that the [agent] shall act on his behalf,”

and (3) the “consent by the [agent] so to act.” Meyer v. Holley, 537 U.S. 280, 286 (2003).

        Best Buy must ensure that its employees are

These terms are defined to be




                                                  20
Case 2:24-cv-00572-JRG          Document 53 Filed 12/30/24            Page 26 of 37 PageID #:
                                          1274



                                                                                      Best Buy is

required to ensure that



                    Best Buy employees

                              are Apple’s agents. They act on Apple’s behalf, selling Apple

merchandise.                                               and therefore has a “right to direct or

control” the agent’s actions. Meyer, 537 U.S. at 286. These             also act on Apple’s behalf

in selling Apple merchandise and have consented to do so                                  . Id.; see

Section II.B.5. This is different from the third-party employees who were held not to be agents of

the defendant in In re Google, because in that case the alleged agents were merely maintaining

equipment. The Federal Circuit held that “[m]aintaining equipment is meaningfully different

from—as only ancillary to—the actual producing, storing, and furnishing to customers of what the

business offers.” 949 F.3d at 1346. Here, the Best Buy employees do precisely what the alleged

agents in In re Google did not, namely furnish Apple products to customers. Dkt. 37-3, Jemmings

Decl., ¶¶ 8–10. In addition to Apple’s own employees that regularly visit the Apple Shops and

conduct Apple’s business there, Apple also has agents that do the same.

               4.     To Customers, Apple Shops Are No Different From Apple
                      Stores

       Apple also attempts to compare the operations of the Apple Shops in this District to the

Apple Stores that are owned by Apple and operate in other districts. Mot. at 22. Instead, Apple

compares the operations of the Best Buys to those of the Apple Stores. Id. (“unlike Best Buy’s

stores where customers can cross-shop products made by numerous different manufacturers, Apple

Stores provide an experience focused exclusively on Apple products and related accessories.”).

But the Apple Shop within the Best Buy is, to the customer, imperceptibly different from an Apple



                                               21
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24              Page 27 of 37 PageID #:
                                           1275



Store. It looks and feels like an Apple Store,

                     See Section II.B.1. It sells only Apple products,

                                    And a shopper in an Apple Shop on a weekend is just as likely

to encounter an Apple Employee conducting product demonstrations or discussing Apple products

as he is in an Apple Store. See Section II.B.4. In excruciating detail, the customer is deliberately

led to believe that the Apple Shop is no different than an Apple Store.

       B.       Transfer is Inappropriate Because Apple Has Not Met Its Burden to
                Show That California Is Clearly More Convenient

       Neither the private nor the public interest factors favor transfer. Apple did not specifically

identify any documentary sources of proof, and several party and non-party witnesses are in this

District. The judicial economy that would be lost due to the transfer of this case is significant and

weighs heavily against transfer.

                1.     The Private Interest Factors Do Not Favor Transfer

                       a.      The Relative Ease of Access to Sources of Proof Weighs
                               Against Transfer

       This factor assesses the relative ease of access to sources of proof, including documentary

and other physical evidence. See Volkswagen II, 545 F.3d at 315. As the Fifth Circuit has recently

reiterated, a movant must specifically identify and locate sources of proof and explain their

relevance. Defense Distrib., 30 F.4th at 434. Apple has not met its burden here.

       Contrary to Apple’s unsupported assumptions, ACT’s sources of proof are located in this

District. Sharma Decl. ¶ 10. These sources of proof include documents related to the Patents-in-

Suit, documents received from the seller of the Patents-in-Suit, documents related to its prior

licenses with                                    and documents related to the sponsored research

performed by the University of Texas at Tyler. Id. ACT has no offices or facilities of any kind in

the Northern District of California (“NDCA”). Id. ¶ 11. These activities and documents cause this


                                                  22
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24             Page 28 of 37 PageID #:
                                           1276



factor to weigh against transfer. Defense Distrib., 30 F.4th at 434 & n.25 (holding that plaintiff’s

activities and documents in Texas weighed against transfer).

       Apple attempts, through its multiple declarations, to state that relevant documents related

to the Accused Products are located in California, but fails the basic requirement of identifying

with specificity what those documents are. 4 Apple uses the same boilerplate (likely attorney-

drafted) language in each of its declarations, stating repeatedly that a particular team



                          Dkt. 37-5 ¶ 6; Dkt. 37-6 ¶ 6; Dkt. 37-7 ¶ 6; Dkt. 37-8 ¶ 6; Dkt. 37-9 ¶ 6;

and Dkt. 37-10 ¶ 7. These vague and unsupported assertions cannot satisfy Apple’s burden.

Defense Distrib., 30 F.4th at 434 (“[T]he district court erred by uncritically accepting the NJAG’s

conclusory assertions that ‘the sources of proof relevant to these issues (including any non-party

witnesses) are all in New Jersey.’”); Core Wireless Licensing, S.A.R.L., 2013 WL 682849, at *3

(finding statement that “virtually all [defendant] business documents and records relating to the

research, design, development, marketing strategy, and product revenue related to the Accused

Products are located in or near Cupertino” was too vague to be considered.). To the extent these

records are electronic, their locations are less important. In re Planned Parenthood Fed’n of Am.,

Inc., 52 F.4th 625, 630 (5th Cir. 2022) (“The location of evidence bears much more strongly on

the transfer analysis when, as in Volkswagen, the evidence is physical in nature.”); In re Zepp

Health Corp., No. 2025-100, 2024 WL 4799482, at *1 (Fed. Cir. Nov. 15, 2024).




4
  In arguing this factor favors transfer, Apple also notes that none of its own witnesses are located
in this District and that “no current members of the relevant technical or transactional teams are
even located in Texas.” Mot. at 25. But this factor is related to documents and physical evidence,
not witnesses; therefore, the locations of witnesses should not be considered. Jawbone Innovations,
LLC v. Samsung Elecs. Co., No. 2:21-cv-00186-JRG-RSP, 2022 WL 4004195, at *3 (E.D. Tex.
Aug. 31, 2022).


                                                 23
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24            Page 29 of 37 PageID #:
                                           1277



       Third party sources of proof are also located in this District and elsewhere. The Patents-in-

Suit originated from JVCKenwood, located in Japan, and documents related to the invention

process (as well as all of the inventors) are likely located in Japan. And the AV1 video codec,

accused of infringing four of the asserted patents, was developed and is maintained by the Alliance

for Open Media (“AOM”), located in Wakefield, Massachusetts. AOM’s documents, including

source code and the AV1 specification, are critical pieces of evidence that are located far from

NDCA. And entities that upon information and belief have negotiated patent licenses with Apple,

including RFCyber, Jawbone, and AGIS, are all located in this District and their records regarding

those transactions are presumably located here. Ex. 6. Third parties identified by Apple itself are

located in Japan, Ohio, Washington D.C., Virginia, New York City, London, Chicago, San Diego,

and Shanghai, in addition to one potentially relevant third party in Palo Alto. Ex. 7. There is also

at least one prior art witness, Zhongli He, located in Austin. Ex. 6. These entities and individuals

likely have relevant documents and physical evidence.

       Because Apple has failed to specifically identify any documentary and physical evidence

located in this District, ACT’s documents and physical evidence located in Marshall and Tyler as

well as documents and physical evidence from prior Apple licensees in this District, AOM in

Massachusetts as well as other third parties located around the country and across the world cause

this factor to weigh against transfer.

                       b.     The Availability of Compulsory Process Weighs Against
                              Transfer

       This factor weighs against transfer because Apple fails “to identify any witnesses who

would be unwilling to testify.” In re Planned Parenthood, 52 F.4th at 630-31. Apple loosely

identifies Broadcom and Qualcomm as having knowledge regarding Wi-Fi 6 and 5G chipsets sold

to Apple, but merely states that these companies “are headquartered in California and their likely



                                                24
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24              Page 30 of 37 PageID #:
                                           1278



witnesses are in California.” Mot. at 26. Apple also never states that these unnamed Broadcom and

Qualcomm witnesses would be called at trial. Def. Distr., 30 F.4th at 434 (confirming that the Fifth

Circuit requires specific evidence showing how the relevant proofs will be used at trial).

       Even if the Court credits these unnamed Broadcom and Qualcomm witnesses allegedly

located in California, there also exist significant non-party witnesses in Texas that are located

within this Court’s subpoena power. These include:

       1)      Samsung’s Director of Corporate Accounting,                   is located in this District

               and has knowledge regarding the sales of Samsung products

                      , which could be relevant to the calculation of a royalty rate and other issues

               related to damages.

       2)      AGIS, RFCyber, and Jawbone and their respective principals are believed to have

               previously negotiated license agreements with Apple and have knowledge

               regarding those negotiations. Their testimony is relevant to damages issues, as well

               as issues related to notice letters and potential risks of declaratory judgment actions.

       3)      Zhongli He, the inventor of prior art used in a previous IPR against the asserted

               ’995 Patent. Mr. He is expected to have knowledge regarding the scope and content

               of this prior art, and the differences between the prior art and the invention claimed

               in the ’995 Patent. Ex. 8.

       4)      Former Apple Employee, Fyodor Kyslov (now employed by Google), is located in

               Austin. Mr. Kyslov was a Senior Software Engineer at Apple from 2016-2018,

               working on video codecs (including, according to his LinkedIn profile, AV1),

               during the time the accused AV1 codec was being developed. Exs. 6, 9.




                                                 25
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 31 of 37 PageID #:
                                   1279
Case 2:24-cv-00572-JRG            Document 53 Filed 12/30/24               Page 32 of 37 PageID #:
                                            1280



available in California that could accommodate trial preparation, and therefore the cost of trial

preparation space in California would increase ACT’s costs. Id.

                                , Professor of Electrical Engineering at the University of Texas at

Tyler, is located in this District, and performs sponsored research related to                  for ACT.

                 has relevant information regarding ACT’s development of this

                is a willing witness whose travel expenses would be greatly multiplied by having

to travel to California. He would require a flight, instead of merely driving to Marshall from Tyler.

He would also require a relatively expensive hotel instead of commuting to trial in Marshall from

his home.                     wrote the papers AV1 Technical Overview – A Summary and A

Comparative Study of the AV1 and HEVC Video Codecs (Exs. 11 and 12). Dr. Shirvaikar may be

called to testify about these papers and/or his knowledge of the performance benefits of the AV1

video codec over other available codecs, which will be a critical issue related to damages.

        Apple identifies ten of its own California-based witnesses as being “most knowledgeable

about each of the accused functionalities implicated by ACT’s infringement allegations.” Mot. at

7–10. But Apple never states that it will bring all of these witnesses to testify at trial. See id. at 27–

28. In addition to Apple’s self-selected group of California-based witnesses, Apple appears to be

concealing the existence of Texas-based Apple witnesses with knowledge regarding the Accused

Products who could just as easily be selected to testify at trial if not for their location. These include

Graphics Software Engineer Dave Wilson Ex. 3, and SoC Design Verification specialist Afshin

Nourivand Ex. 4. These individuals likely have knowledge regarding the accused software and

hardware AV1 decoders/encoders in this case. Apple also admits that at least



                                                                           Dkt. 37-9, Pantos Decl., ¶ 5.




                                                   27
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24              Page 33 of 37 PageID #:
                                           1281



This unnamed employee, whose knowledge overlaps with Distinguished Engineer Mr. Pantos,

would need to travel much farther from Austin to testify at the potential trial in California.

                       d.      The Practical Problems Factor Weighs Against Transfer

       This favor weighs heavily against transfer because the loss of judicial economy that would

occur if this case were transferred while the co-pending case against Google remains would result

in duplicative efforts. This Court is already familiar with several of the Patents-in-Suit in this case

by virtue of having presided over a previous litigation, which was only resolved after summary

judgment briefing was completed. In re Kia Corp., No. 2024-0138, 2024 WL 4355616, at *1 (Fed.

Cir. Oct. 1, 2024) (“It was not clear error for the district court to consider the potential judicial

economy benefit to resolving both this case and the Toyota case, which it noted involve

‘substantially similar’ accused technologies and three of the same patents.”); In re EMC Corp.,

501 F. App’x 973, 976 (Fed. Cir. 2013) (“[W]e have held that a district court’s experience with a

patent in prior litigation and the co-pendency of cases involving the same patent are permissible

considerations in ruling on a motion to transfer venue.”). Here, as in In re Kia, there is a co-pending

litigation against Google involving the same six patents. Compare Dkt. 1 (in both consolidated

Apple cases) with First Am. Compl., Dkt. 23, in Advanced Coding Techs. LLC v. Google LLC,

Case No. 2:24-00353 (E.D. Tex. Aug. 2, 2024) (both asserting U.S. Patent Nos. 8,090,025;

9,986,303; 10,218,995; 9,042,448; 8,230,101; and 7,804,891). This Court previously presided over

the LG litigation, in which the ’025, ’303, and ’995 patents were at issue. Advanced Coding Techs.

LLC v. LG et al., No. 2:22-cv-00501-JRG-RSP. Because significant judicial economy would be

achieved by retaining this case in this District, this factor weighs against transfer.




                                                  28
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24             Page 34 of 37 PageID #:
                                           1282



               2.      The Public Interest Factors Do Not Favor Transfer

                       a.      The Local Interests Weigh Against Transfer

       Apple alleges that there is a local interest in this issue being resolved in NDCA. But Apple

ignores that it has thousands of employees in Texas, and ACT has no contacts to NDCA. See

Rembrandt Wireless Techs, LP v. Apple Inc., No. 2:19-CV-00025-JRG, 2019 WL 6344470, at *3

(E.D. Tec. Nov. 27, 2019). Rather, the local interest in having localized interests decided at home

weighs against transfer because Apple and ACT are both located in Texas. Apple’s campus in

Austin employs between 5,000 and 15,000 employees. Ex. 2. Compared to its approximately

12,000 employees in Cupertino, this is a significant presence. These employees perform work

related to design and manufacture of the Accused Products. See supra Section IV.A. ACT is a

Texas entity that maintains two offices in this District. Sharma Decl. ¶ 4. In re Clarke, 94 F.4th at

511-12.

       In addition to the Plaintiff being a Texas entity and the Defendant maintaining an enormous

office and production facility in Texas, there is additional local interest in this dispute because

ACT’s sponsored research regarding video codecs occurs in this District at the University of Texas

at Tyler. Sharma Decl. ¶ 7.

                       b.      Court Congestion Weighs Against Transfer

       Apple admits that this Court’s time to trial is far shorter than NDCA. Mot. at 30. 6 Apple

merely argues that court congestion is speculative and entitled to little weight considering that

ACT is a non-practicing entity. Id. But the Fifth Circuit has made clear that this factor is still

relevant and that “to the extent docket efficiency can be reliably estimated, the district court is



6 Statistics show that NDCA has a significantly longer time to trial and more cases per judge than

EDTX. See Ex. 13 (NDCA averaging 48.9 months from filing to trial, compared to 21.6 months
in EDTX, and 1,116 pending cases per judgeship in NDCA compared to 809 in EDTX.)


                                                 29
Case 2:24-cv-00572-JRG           Document 53 Filed 12/30/24              Page 35 of 37 PageID #:
                                           1283



better placed to do so than [an appellate] court.” Planned Parenthood, 52 F.4th at 631.

Accordingly, this factor weighs heavily against transfer. 7

       Apple concedes that the remaining public interest factors (the familiarity of the forum with

the law that will govern the case and the avoidance of unnecessary problems of conflict of laws)

do not favor transfer. Mot. at 29.

       C.      ACT Requests Venue Discovery

       Apple appears to have intentionally withheld information that could assist the Court in

deciding this Motion, including (1) not discussing with sufficient detail the frequency with which

Apple Employees visit the Apple Shops in this District (Sections II.B.4 and IV A.3); and (2)



(Section II.B.C. and IV.B.1.c). To the extent the Court does not infer these facts favor the Plaintiff,

ACT requests venue discovery to further clarify and provide details about the scope of the

relationship between Apple and Best Buy, as well as to uncover further facts relevant to the transfer

analysis.

V.     CONCLUSION

       For the foregoing reasons, ACT respectfully requests that the Court deny Apple’s Motion

to Dismiss for Improper Venue or Alternatively to Transfer to the Northern District of California

(Dkt. 37).

Dated: November 18, 2024                       Respectfully submitted,

                                               /s/ Peter Lambrianakos
                                               Alfred R. Fabricant
                                               NY Bar No. 2219392
                                               Email: ffabricant@fabricantllp.com

7
  See Longhorn HD LLC v. Juniper Networks, Inc., No. 2:21-CV-00099-JRG, 2021 WL 4243382
at *4 (E.D. Tex. Sept. 16, 2021) (“[T]he Court agrees with both Juniper and LHD that the time to
trial is, on average, faster in this District. Accordingly, the Court finds this factor fairly weighs
against transfer.”).


                                                  30
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24      Page 36 of 37 PageID #:
                                   1284



                                  Peter Lambrianakos
                                  NY Bar No. 2894392
                                  Email: plambrianakos@fabricantllp.com
                                  Vincent J. Rubino, III
                                  NY Bar No. 4557435
                                  Email: vrubino@fabricantllp.com
                                  Joseph M. Mercadante
                                  NY Bar No. 4784930
                                  Email: jmercadante@fabricantllp.com
                                  FABRICANT LLP
                                  411 Theodore Fremd Avenue,
                                  Suite 206 South
                                  Rye, New York 10580
                                  Telephone: (212) 257-5797
                                  Facsimile: (212) 257-5796

                                  Samuel F. Baxter
                                  Texas Bar No. 01938000
                                  sbaxter@mckoolsmith.com
                                  Jennifer L. Truelove
                                  Texas Bar No. 24012906
                                  jtruelove@mckoolsmith.com
                                  MCKOOL SMITH, P.C.
                                  104 E. Houston Street, Suite 300
                                  Marshall, Texas 75670
                                  Telephone: (903) 923-9000
                                  Facsimile: (903) 923-9099

                                  ATTORNEYS FOR PLAINTIFF
                                  ADVANCED CODING TECHNOLOGIES LLC




                                    31
Case 2:24-cv-00572-JRG   Document 53 Filed 12/30/24   Page 37 of 37 PageID #:
                                   1285
